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                                UNITED STATES DISTRICT COURT FOR THE
                                    SOUTHERN DISTRICT OF FLORIDA
                                            Miami Division

                                  Case Number: 20-21527-CIV-MORENO

   DERRICK BODIE,

                   Plaintiff,
   vs.

   COMMISSIONER OF SOCIAL SECURITY,

                   Defendant.
  _________________________________________/

             ORDER ADOPTING MAGISTRATE JUDGE GOODMAN’S REPORT AND
                               RECOMMENDATION

          THE MATTER was referred to the Honorable Jonathan Goodman, United States Magistrate Judge,

  for a Report and Recommendation on cross motions on Summary Judgment Motions, filed on January 6

  and February 5, 2021. The Magistrate Judge filed a Report and Recommendation (D.E. 27) on April 7,

  2021. The Court has reviewed the entire file and record. There were no objections to the Magistrate Judge’s

  Report and Recommendation, and being otherwise fully advised in the premises, it is

          ADJUDGED that United States Magistrate Judge Jonathan Goodman’s Report and

  Recommendation is AFFIRMED and ADOPTED. Accordingly, it is

          ADJUDGED that Report and Recommendation on Summary Judgment Motions is Bodie's

  summary judgment motion is DENIED and the Commissioner’s summary judgment motion is

  GRANTED.

          DONE AND ORDERED in Chambers at Miami, Florida, this 5th of May 2021.




                                           ______________________________________
                                                  FEDERICO A. MORENO
                                                  UNITED STATES DISTRICT JUDGE
  Copies furnished to:
  United States Magistrate Judge Jonathan Goodman
  Counsel of Record
